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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN


                                       MINUTES

CASE CAPTION: City of Grand Rapids v. Grand Rapids Police Command Officers Assoc, et al

Case Number: 1:17-cv-113

Date: April 16, 2019

Time: 9:08 a.m. – 9:56 a.m.
      10:21 a.m. – 11:55 a.m.
      1:23 p.m. – 2:25 p.m.

Place: Kalamazoo

Judge: Paul L. Maloney

APPEARANCES

       Plaintiff/Counter-Defendant: Scott E. Dwyer and Benjamin C. Dilley

       Defendant Grand Rapids Police Command Officers Association: Andrew J. Gordon
       Defendant/Counter-Claimant Matthew Janiskee: Andrew J. Rodenhouse and Charles C.
       Newberg

PROCEEDINGS

Nature of Hearing: Bench Trial – Day 2: continuation of Plaintiff’s presentation of evidence

WITNESSES:
Martin Clason, Scott Cox

EXHIBITS:

 Description                                                                     Admitted
 Joint Exhibits: 50, 51, 52                                                      Yes by stipulation
 Plaintiff/Counter-Defendant’s Exhibits: 7(Bates Stamped GR 335, 347-349)        Yes
 Defendant GRPCOA’s Exhibits: (none)
 Defendant/Counter-Claimant Janiskee’s Exhibits: C                               Yes

Court Reporter: Kathleen Thomas                    Case Manager: Amy Redmond
